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                     UNITED STATES DISTRICT
                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA         )
                                 )
v.                               )       Case No. 21-cr-00035-EGS
                                 )
RONALD COLTON McABEE,            )
                                 )
     Defendant.                  )



      MOTION FOR RECONSIDERATION OF DETENTION ORDER




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      Defendant Ronald Colton McAbee, by and through his counsel of record,

respectfully moves this Honorable Court to reconsider the Detention Order entered

by this Honorable Court on October 13, 2021, followed by a written opinion dated

December 21, 2021, setting forth the Court’s findings and conclusions.

                                    INTRODUCTION

      The Court’s rationale for detaining Mr. McAbee pending trial is summarized

by the Court near the end of its written Memorandum dated December 31, 2021, as

follows:

              “[The] nature and circumstances of Mr. McAbee’s offenses evince a
      clear disregard for the safety of others. The government has shown that Mr.
      McAbee deliberately joined an ongoing attack on MPD officers…. He used
      physical force to pull an officer into the larger mob of angry and violent
      rioters. When another officer tried to stop Mr. McAbee from doing so by
      hitting and pushing him with a baton, Mr. McAbee stepped up to fight the
      officer, swinging his arms while wearing metal-studded gloves on his
      hands…. The government’s evidence shows that Mr. McAbee took intentional
      and “offensive action” on January 6, 2021, that was violent and aggressive.
      Altogether, the evidence “suggests that [Mr. McAbee] was not a passive
      observer, but an active aggressor.”

ECF Doc. No. 166, p.37.

      All of the concerns expressed by the Court with respect to Mr. McAbee’s

potential for future dangerousness are traceable to three discrete events – as

described by the Government from video shown to the Court. 1) Mr. McAbee’s first

physical interaction with of Officer A.W.; 2) Mr. McAbee’s interaction with Officer

C.M; 3) Mr. McAbee’s second interaction with Officer A.W.




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      On April 26, 2021, this Honorable Court entered the following decision on the

docket of this case with respect to co-Defendant Lopatic’s appeal of a detention

order entered against him by an out-of-district Magistrate Judge:

      … The government relies heavily on Mr. Lopatic's violent and obstructive
      conduct on January 6 and speculates that because of the poor judgment he
      exhibited in those acts, he will be unable to comply with the conditions of
      supervision that are meant to ensure his appearance as required and the
      safety of the community. To be sure, the nature and circumstances of Mr.
      Lopatic's offenses are extremely troubling…. That his actions were
      apparently prompted by his willingness to believe, and act upon, falsehoods
      that have been spread, and continue to spread, about the legitimacy of the
      2020 Presidential Election results is also unsettling. These factors weigh on
      the Court when considering whether Mr. Lopatic presents a danger to his
      community. However, the Court notes that Mr. Lopatic does not appear to
      have engaged in significant prior planning or coordination with other rioters;
      he did not take on a leadership role during the riots; he did not use or carry
      any weapons; and he has expressed remorse for his actions. In addition, the
      government has only speculated that Mr. Lopatic will be unable to comply
      with his conditions of release based on his actions on January 6, 2021, but
      the Court notes that Mr. Lopatic has no substantial criminal history, has
      strong community ties, is nearly 60 years old, has been married for 34 years,
      has lived in his current residence for 30 years, and suffers from a number of
      physical and mental health issues. Finally, Mr. Lopatic served in the U.S.
      Marine Corps and received an Honorable Discharge. Thus, the Court is
      persuaded that he is capable of following directions and complying with his
      conditions of release.
      Nearly everything this Court wrote in that EO granting Mr. Lopatic’s release

applies to Mr. McAbee. Yet this Court has detained Mr. McAbee after a Magistrate

in the Middle District of Tennessee had ordered him released.


      Mr. McAbee’s current counsel has worked with his family and friends in

conducting an investigation to develop the new evidence that supports the sequence

of events that is described above. This new information, including new videos made



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available by the government which will be filed in support of this motion, combined

with new proposed conditions of pretrial release, establishes a basis for this Court

to reconsider the detention order previously entered.

                     RELEVANT PROCEDURAL BACKGROUND

          The Court set forth the procedure details of this case in its written ruling

dated December 21, 2021. Mr. McAbee will not recount the procedural aspect of

this case here.

                                   LEGAL STANDARD

              A. The Bail Reform Act and Chrestman Factors

       Mr. McAbee acknowledges that the standard for reconsideration of a

detention order already imposed is different than that made in the first instance.

To gain reconsideration a defendant must provide new information. Section

3142(f)(2) provides that a hearing “may be reopened, before or after a determination

by the judicial officer, at any time before trial if the judicial officer finds that

information exists that was not known to the movant at the time of the hearing and

that has a material bearing on the issue whether there are conditions of release

that will reasonably assure the appearance of such person as required and the

safety of any other person and the community.” United States v. Worrell, No. 1:21-

CR-00292-RCL, 2021 WL 2366934 (D.D.C. June 9, 2021), appeal dismissed, No. 21-

3040, 2021 WL 4765445 (D.C. Cir. Sept. 15, 2021).

       The new information proffered by Mr. McAbee are additional video evidence

beyond that provided previously by the government. Some videos have been

provided to the defense in discovery that was received from the Government only
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after the detention hearing in September 2021. Other videos have been located

through the investigation conducted by the defense. A comprehensive analysis of

each video, including a second-by-second breakdown of the relevant portions will be

included in the supplement.

      On the barest of factual records, embracing numerous opportunities to

misconstrue, mischaracterize, and demonize every action of Mr. McAbee on January

6th, the government appealed a release order entered by a Magistrate Judge in the

Middle District of Tennessee.1 The Government employed these tactics to the end of

detaining, and thereby silencing, a former law enforcement officer who likely stands

as one of the most credible witnesses to a sequence of events involving mutual

combatant conduct between police and protesters at the opening of the tunnel

leading to the Lower West Terrace entrance to the Capitol.

      The legislative history of the Bail Reform Act states:

             "[T]here is a small but identifiable group of particularly dangerous
      defendants as to whom neither the imposition of stringent release conditions
      nor the prospect of release can reasonably assure the safety of the community
      or other persons. It is with respect to this limited group of offenders that the
      courts must be given the power to deny release pending trial."

      S. Rep. No. 225, 98th Cong., 1st Sess. 6-7 (1983), reprinted in 1984 U.S. Code

Cong. & Ad. News 1, 9 (Supp. 9A). (Emphasis added.)

      Detention is not appropriate for all “dangerous” defendants. If a defendant is

not “dangerous” the issue of detention is moot. The existence of some characteristic



1 As noted by this Court in its December 21, 2021 Memorandum, the government
did not seek Mr. McAbee’s detention on the basis that he was a “flight risk.”
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of “dangerousness” is present in every instance where the issue of detention pending

trial is raised, but it is only “particularly dangerous defendants” who should be

detained, and only if no condition or combination of conductions can mitigate the

identified and articulated risk.

       Further, “dangerousness” must be established by “clear and convincing”

evidence, i.e., evidence that “provides ‘a high degree of certainty’ as to danger.”

United States v. Chimurenga, 760 F.2d 400, 405 (2nd Cir. 1985) (Emphasis added.)

Since the Government did not seek detention based on risk of flight, the only

standard at issue for Mr. McAbee should have been “clear and convincing” evidence.

The Court’s Memorandum Opinion fails to clearly address this issue.

       Even “dangerous defendants” are entitled to be released when conditions to

be imposed can “reasonably assure” the safety the community. United States v.

Alston, 420 F.2d 175, 178 (D.C. Cir. 1969)( “The law requires reasonable assurance

but does not demand absolute certainty, which would be only a disguised way of

compelling commitment in advance of judgment.”)

       The standard assumes that some degree of risk of dangerousness will always

remain, yet the defendant should be released on appropriate conditions that are

intended to minimize – not eliminate -- that danger. Thus, “danger to the

community” need not required be eliminated by the condition or combination of

conditions imposed by the Court in order for release to be appropriate under the

law.




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      The Circuit Court cautioned in United States v. Munchel, 991 F.3d 1273,

1279-80 (D.C.Cir. 2021):

             A defendant’s detention based on dangerousness accords with due
      process only insofar as the district court determines that the defendant’s
      history, characteristics, and alleged criminal conduct make clear that he or
      she poses a concrete, prospective threat to public safety.”

      This motion asks this Court to find on a now more robust record, combined

with newly proposed conditions of pretrial release that “reasonably assure” the

safety of the community, that Mr. McAbee should be released on those proposed

terms and conditions.

      Presiding Judge Howell previously outlined in United States v. Chrestman

six specific factors to be evaluated in determining whether individual defendants

fall within the “particularly dangerous” category potentially meriting detention

with respect to the allegations of their specific involvement in the events of January

6. Those factors are:

             1.    Whether the charged offenses are felonies or misdemeanors;

             2.    The extent of the defendant’s prior planning;

             3.    Whether the defendant used or carried a dangerous weapon;

             4.    Evidence of coordination with other protesters before, during, or
                   after the riot;

             5.    Whether the defendant assumed either a formal or de facto
                   leadership role in the assault, for example, by urging rioters to
                   advance or confronting law enforcement;

             6.    The defendant’s “words and movements during the riot”—e.g.,
                   whether the defendant “remained only on the grounds
                   surrounding the Capitol” or stormed into the Capitol interior, or


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                    whether the defendant “injured, attempted to injure, or
                    threatened to injure others.”

      Based on the factual record made by the government – a proffer and limited

video evidence supplied by the government -- this Court found that four of the

Chrestman factors weighed in favor of detention, and two weighed in favor of

release. The factors weighing in favor of detention were:

             1.     Mr. McAbee is charged with serious felony offenses that are
                    “crimes of violence”;

             2.     There is evidence of “prior planning” with regard to the
                    acquisition of “weapons” and the anticipation of violence as
                    reflected in text messages submitted by the government.

             3.     Mr. McAbee did carry dangerous weapons at various points in
                    time – the reinformed gloves and a police baton he picked up off
                    the ground;

             4.     Through his words and movements Mr. McAbee did injure,
                    attempted to injure, and threatened to injure federal law
                    enforcement officials who were protecting the Capitol from the
                    protesters.

      B) Record Evidence Regarding the Chrestman Factors.
             1.    Felony Offenses Charged.
                    a)     Count 14: Civil Disorder.
      Count 14 charges with Mr. McAbee with “Civil Disorder” in violation of 18

U.S.C. § 341. Although this is a felony, it is not a “crime of violence” as referenced

in the Section 3142, and is not relevant on the issue of whether Mr. McAbee would

pose a “danger to the community” if released on conditions of pretrial release

pending trial.




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                    b)     Counts 9 and 12 -- Assault on Police Officers.
      Mr. McAbee is charged with two counts of violating 18 U.S.C. § 111(a)(1) and

(b). Those counts allege “crimes of violence” and could be a basis for distinguishing

Mr. McAbee from others charged with criminal offenses on January 6 according to

Chrestman depending on the facts.

      Also noteworthy about the Third Superseding Indictment is that Mr. McAbee

is NOT charged with intending or conspiring to obstruct Congress in violation of 18

U.S.C. § 1512(c). Both the Government and the Court make repeated references to

alleged political motivations behind his actions on January 6. But the matter of his

political beliefs are not relevant based on the crimes with which he has been

charged and are not in evidence before this Court.

             2.     Prior Planning.

      Often overlooked in the analysis of the “prior planning” factor in Chrestman

is that Presiding Judge Howell linked acts of planning – even if only by inference --

to a motive or intent to interfere with the Congressional action scheduled for

January 6. Presiding Judge Howell referenced such a link in her explanation as of

the “prior planning” factor as follows:

             First, any indication that a defendant engaged in prior planning
      before arriving at the Capitol, for example, by obtaining weapons or tactical
      gear, suggests that he was not just caught up in the frenzy of the crowd, but
      instead came to Washington, D.C. with the intention of causing mayhem and
      disrupting the democratic process, mandated under the U.S. Constitution, of
      counting and certifying Electoral College votes. See U.S. Const. art. II, § 1, cl.
      3.

United States v. Chrestman, 535 F.Supp.3d. 14, 26 (D.D.C. 2021).



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         As noted above, Mr. McAbee is not charged with having come to Washington

DC to disrupt the political process. There is no allegation in the Third Superseding

Indictment that he conspired with Associate 1 or his co-defendants to commit such

an offense. The Third Superseding Indictment includes a substantive charge of

violating Section 1512(c)(2) as Count One, but Mr. McAbee is not named in that

count.

         There is no evidence in this case that Mr. McAbee had any intention to do so.

He traveled to Washington DC with Associate 1 to attend the “Stop The Steal”

political rally, which itself was an exercise in free speech protected by the First

Amendment.

         This Court’s Order focuses on what it claims was evidence of inculpatory

“prior planning” by Mr. McAbee having ordered motorcycle riding gloves with

reinformed knuckles, as well as discussions between Mr. McAbee and Associate 1 in

the days leading up to their departure about other items they MIGHT take with

them on their trip – none of which Mr. McAbee actually brought with him to

Washington D.C. This also distinguishes Mr. McAbee from Defendant Chrestman.

         Judge Howell’s opinion states that the acquisition of such items might

SUGGEST an intention to “cause mayhem and disrupt the democratic process.” In

the absence of any contrary evidence for the acquisition of such items, that would

certainly be one reasonable conclusion that could be drawn.

         But drawing that conclusion on the record evidence in this case was clearly

erroneous because the uncontested evidence before the Court was that Mr. McAbee



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never mentioned law enforcement or the Congress in any manner that would

suggest an intention on the part of either to “cause mayhem or disrupt the

democratic process” when they were discussing what items to bring, and Mr.

McAbee decided to acquire the motorcycle gloves from an online retailer.

      The communication between Mr. McAbee and Associate 1 about the

motorcycle gloves and other items involved several exchanges and comments about

how they might deal with counter-protester attacks. Associate 1 had been to a rally

in Washington DC before January 6 where counter-protesters were present, and

violence did break out.

      Mr. McAbee and Associate 1 discussed and agreed that members of the

families – their wives and Associate 1’s son – would travel with them to attend the

January 6 protest because of their fear that similar violence might take place.

      There is no evidence – not a single line of communication between Mr.

McAbee and Associate 1 – that references or contemplates the possibility of violent

engagement with law enforcement or an intention to interfere with the planned

Congressional set to take place on January 6.

      This is in contrast to the defendant in Chrestman, a member of the Proud

Boys national organization that has engaged in violence at protests in various parts

of the county. The evidence before Judge Howell was that Chrestman responded to

a call for Proud Boys members to come to Washington DC, and he came with

weapons and tactical gear to cause violence and interfere with the election

confirmation process.



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      In the weeks leading up to January 6, 2021, the Proud Boys' public
      communications encouraged members to travel to Washington, D.C. to attend
      the demonstration against the certification of the Electoral College vote.

Chrestman, 535 F.Supp.3d. at 19.

      Mr. McAbee was not a member of any national organization, and he came to

Washington D.C. with only one other person to attend a political protest rally. His

decision was not in response to any invitation from a national organization

announced for the purpose of interfering with Congress.

      Judge Howell’s analysis linked the issue of “prior planning” with an

anticipation of the possible need for violence against law enforcement or the

Congress.

      Likewise, a defendant's carrying or use during the riot of a dangerous
      weapon, whether a firearm, a large pipe, a wooden club, an axe handle, or
      other offensive-use implement, indicates at least some degree of preparation
      for the attack and an expectation that the need to engage in violence
      against law enforcement or, indeed, the Legislative branch, might
      arise. These motives and steps taken in anticipation of an attack on
      Congress speak volumes to both the gravity of the charged offense, as a
      premeditated component of an attempt to halt the operation of our
      democratic process, and the danger a defendant poses not just to the
      community in which he resides, but to the American public as a whole.

Id. at 26. (Emphasis Added).

      There was no evidence offered against Mr. McAbee from which any

reasonable inference could be drawn that “anticipation of an attack on Congress”

was any part of his motive(s) for attending, or his planning to be prepared for

violence if it should happen to break out.

      No reasonable inferences could be drawn from those communication with

regard to “prior planning” anticipating violence against law enforcement or

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Congress. There was a factual basis for such inferences in Chrestman, but there is

no such factual basis to support such inferences here. That is a key factual

distinction between Mr. McAbee and Mr. Chrestman based on Judge Howell’s own

analysis.

                3.     Carry or Use of a Dangerous Weapon

          The Government acknowledged and this Court agreed that the video evidence

offered during the detention hearing did not show Mr. McAbee employing either the

reinforced gloves or the police baton as weapons against the law enforcement

officers. But the Court wrote it was “troubled” that Mr. McAbee had armed himself

at all.

          This conclusion stops short of recognizing the most significant FACT

involving the “dangerous weapons” being used as justification for his detention –

the fact that he had multiple opportunities to employ both the gloves and the baton

against the law enforcement officers had it been in his mind to do so, but never did.

What better evidence could there be of a lack of such intent?

          With regard to the baton, he has extensive training in how to make use of it

in both an offensive and defensive manner. He has law enforcement officers in

vulnerable positions – positions where they would be hard-pressed to defend

themselves from such an attack by him.

          He has an angry mob at his back in numbers which greatly out numbered the

Officers present.




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      Nevertheless, this Court reached the counterfactual conclusion that Mr.

McAbee deliberately joined in an ongoing attack on law enforcement officers, and

his actions were that of an aggressor.

      This conclusion is counterfactual and clearly erroneous because this Court

recognized that Mr. McAbee discarded the baton BEFORE supposedly joining in

that attack, and never made use of the other weapon while having an abundance of

opportunities to do so.

      Mr. McAbee possessed the police baton for less than 4 seconds – picking it up

from the ground and then tossing it down again BEFORE “joining in an ongoing

attack.” This incontrovertible fact is wholly inconsistent with the Government’s

claim -- adopted by the Court -- that Mr. McAbee entered the area in front of the

tunnel to the Lower Terrace Entrance for the purpose of joining in an assault on the

law enforcement officers there.

      According to the Government, he disarmed himself and THEN ran into the

fight where weapons were being used by law enforcement.

      As for the reinformed gloves, the undisputed FACT is that Mr. McAbee did

not one time use the gloves to strike or injure Officer A.W. He stood over Officer

A.W. after moving to the front of the tunnel, with Officer A.W. completely

defenseless at his feet.

      It is also true that Mr. McAbee never struck any blow against A.W. in their

second instances of contact – when Mr. McAbee fell on top of Officer A.W. and they

slid down the stairs together. The Government acknowledged – and the Court



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agreed – that Mr. McAbee did not assault Officer A.W. while on top of him for a

period of 20+ seconds.

      Again, had it been Mr. McAbee’s intention to attack law enforcement officers

in the front of the tunnel there are few, if any, that revealed such an intention on

his part. That he tossed away the baton and never struck any Officer with the

reinforced gloves make clearly erroneous the finding that the “use or carried

weapon(s)” factor under Chrestman supported detention.

             6)     Words and Movement – Injuring/Attempting to Injure Officers.

             This Court made certain factual findings based on its review of the

video submitted by the Government as part of its proffer.


      Notwithstanding those factual findings, the following facts are also

incontrovertibly true with regard to Mr. McAbee, as make the decision to detain

him pending trial nevertheless clearly erroneous.


      1.     Mr. McAbee was a ten-year veteran of law enforcement in Georgia and
      Tennessee. He was on medical leave on January 6th due to a shoulder injury
      suffered in an automobile accident on December 27, 2021.

      2.   Mr. McAbee had not been cited a single time by any agency for
      unlawful use of force during his ten-year career in law enforcement.

      3.    Mr. McAbee had never before attended a political rally or protest.
      Associate 1, who drove them to Washington D, to attend the January 6 th
      “Stop The Steal” rally had attended earlier protests and had described to Mr.
      McAbee episodes of violence involving counter-protesters at those earlier
      events. That is the context for the various “chat” messages exchanged with
      Associate 1 submitted by the government and discussed in more detail
      herein.




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4.     Mr. McAbee only “coordinated” and/or “planned” the details of his trip
with Associate 1 from their respective homes – agreeing to meet at a location
in the middle before going on to DC together.

5.    Mr. McAbee did not attend the protest on January 6th as part any
group or organization of individuals with stated political agendas.

6.    Mr. McAbee’s co-defendants are all strangers to him – he did not
conspire or act in concert with any of them.

7.     Mr. McAbee did not carry any “weapons,” notwithstanding the fact
that the government has characterized motorcycle gloves available on
Amazon as a “weapon” due to them having reinforced protection for knuckles
and fingers that prevents injuries to riders from debris or objects kicked up
while riding.

8.     There is no evidence – it did not happen – of Mr. McAbee making use
of the gloves as “weapons” on January 6th even though he was in the
immediate proximity of more than one law enforcement officers and could
have done so of that had been his intention or desire.

9.     Mr. McAbee picked up a law enforcement baton from the ground at his
feet. After holding the baton for four seconds, Mr. McAbee tossed the baton
to the ground out of the way BEFORE moving into the front of the tunnel.
No evidence suggests or supports any inference that he considered using that
baton as a weapon against anyone.

10.    Mr. McAbee did not jump or dive on top of Officer AW. Videos show
that as Mr. McAbee was standing over Officer AW, straddling Officer AW’s
torso when other protesters behind Mr. McAbee grabbed Officer AW’s legs
and pulled him down the stairs. Mr. McAbee’s feet were pulled out from
under him by the movement of Officer AW’s body, causing Mr. McAbee to lose
his balance and fall face-first on top of Officer AW. They both slid down the
stairs together. This was not a volitional action by Mr. McAbee.

11.    Mr. McAbee spoke to Officer AW while laying on top of him, telling
Officer AW he – McAbee -- was going to remain in that position until Officer
AW was ready to stand, and they would stand up together. There is no
evidence – it did not happen as admitted by the Government -- that Mr.
McAbee assaulted Officer AW while Officer AW was in that vulnerable
position.



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      12.    In the seconds just before Mr. McAbee was swept off his feet, he was
      standing over Officer AW. While Mr. McAbee’s attention was to his left,
      Officer CM emerged from the tunnel and struck Mr. McAbee with a baton
      under Mr. McAbee’s outstretched and injured right arm and across his ribs.
      Mr. McAbee reacted to the blow from Officer CM by pushing him away with
      both hands extended and palms facing forward. Close scrutiny of the video
      shows Mr. McAbee never moved his feet – he never advanced on Officer CM
      as he retreated into the tunnel.

      13.   Through the course of these events, Mr. McAbee aggravated the
      shoulder injury he had suffered days earlier in an automobile accident, and
      he was no longer able to lift his right arm.

      15.   Mr. McAbee attempted to make his way to the front line of law
      enforcement officers he had assisted earlier in trying to separate protesters
      from the officers trying to assist Officer AW.

      16.   As he did so another officer recognized him from their encounter
      minutes earlier. Officer SS thanked Mr. McAbee, having recognized that
      McAbee was trying to assistance them by helping Off. AW. That exchange is
      captured on the audio of the video submitted with this motion.

      The Court’s factual findings are largely written in the form of conclusions,

and they track – often citing directly – the proffer made by the Government. The

Court’s factual findings do not exclude that most of the information set forth in 1

through 16 above is true – the findings simply ignore 1 through 16 above.

      “Clear and convincing” is a standard that, as noted above, is supposed to

provide “a high degree of certainty” as to dangerousness. United States v.

Chimurenga, 760 F.2d 400, 405 (2nd Cir. 1985)(Emphasis added.)

      When the Court’s factual findings are joined with the uncontroverted facts

included in 1 through 16, the Court’s determination that the government has met

this high burden is clearly erroneous.




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          C.    Remaining Considerations Under the Bail Reform Act.

                1.     Weight of the Evidence

          The Court’s Order reaches the following conclusion on this Bail Reform Act

factor:

          But for purposes of the Court’s decision on detention, the government’s
          evidence in support of the charged offenses is strong. In consideration of the
          strength of the government’s evidence against Mr. McAbee, the Court finds
          that the second 18 U.S.C. § 3142(g) factor weighs in favor of his continued
          pretrial detention, although it “is the least important” factor.

          This is a clearly erroneous application of the “weight of the evidence” factor.

The rationale that the Court employs to reach this conclusion is tantamount to a

pre-trial determination of Mr. McAbee’s guilt. That is expressly prohibited under

the Bail Reform Act, and has been recognized as such in this Circuit. United States

v. Alston, 420 F.2d 176, 179-80 (D.C. Cir. 1969).

          This is not a matter of the video evidence proving presence or intent when

those elements are denied. This case involves real disputes over what events are

depicted in the video. The Court acknowledges that Mr. McAbee has presented an

alternative interpretation of all the events on the videos, and all the video is open to

more than just one interpretation. Mr. McAbee not only has the right to offer this

alternative interpretation, he intends to testify and narrate the videos second-by-

second as the events happened. His narration will be exactly as outlined above.

          The Bail Reform Act’s purpose in including this factor among the

considerations is not to predict the more likely outcome of the trial. The reason for



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its inclusion is evaluate the risk that defendant might be motivated to fail to appear

for trial.2 This Court should take into consideration…

      "… the nature and circumstances of the offense charged [and] the weight of
      the evidence against the accused," but the statute neither requires nor
      permits a pretrial determination that the defendant is guilty…. If one bears
      in mind that one is examining only the evidence against the accused, for
      purposes of considering prospect of flight, one is more likely to guard against
      the impermissible course of reaching some kind of partial determination of
      guilt and of beginning what is in substance a mandate of punishment.”

United States v. Alston, 420 F.2d 176, 179-80 (D.C. Cir. 1969) (Emphasis added.)

      In addition, the existence of a potentially meritorious defense – as opposed to

hoping on a failure of proof by the Government – weighs in favor of the defendant

for purposes of the Bail Reform Act.

              “Limiting my consideration of the weight of the evidence to the
      likelihood that Defendant will appear in court and not endanger the
      community, I conclude that this factor weighs in favor of Defendant. Based on
      the limited record currently before me, it appears that Defendant has a
      potentially viable defense, and that the likelihood of conviction is not so great
      that it presents an insurmountable obstacle to pretrial release.” (Emphasis
      added).

United States v. Bellomo, 944 F.Supp. 1160, 1163 (S.D.N.Y.1996):

      What makes the Government’s case weak is the fact that the videos actually

exonerate Mr. McAbee of the very allegations made against him, and Mr. McAbee is

motivated to appear for trial, take the stand and narrate those videos for jury.




2It is worth repeating here that the Government did not seek detention based on
risk of flight, so the relevance of the “weight of the evidence” factor is even further
reduced – if not eliminated – for purposes of detention in this case.
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      The Court and the Government acknowledge that the videos do not show Mr.

McAbee striking any offensive blow against any officer. He does not punch or strike

Officer CM – both the Government and this Court describe Mr. McAbee’s actions as

“swinging his arm” at Officer CM without making contact.

      The second supposed assault on Officer AW is alleged to have happened when

Mr. McAbee “pinned” Officer AW to the ground. The video evidence shows this was

not a volitional act – Mr. McAbee’s own feet were swept out from beneath him while

he was standing over Off. AW, causing Mr. McAbee to fall on top of him. Both the

Government and this Court acknowledge that Officer AW’s body worn camera video

shows no assault by Mr. McAbee against Officer AW while he was laying on top of

him. The audio also captures Mr. McAbee yelling for other protesters to not

assault or injure Off. AW.

             2.    History and Characteristics of the Defendant

      This Court’s prior decision faults Mr. McAbee for his actions on January 6

because he was a sworn law enforcement officer in the State of Tennessee. The

Court stated that Mr. McAbee’s actions in that regard:

      “show that he is willing to allow his own personal beliefs to override the rule
      of law, which reflects poorly on his character.”

      “Worse, he was willing to allow those beliefs to override his sworn duty to
      uphold the rule of law as a law enforcement officer and even fight against
      officers with whom one would expect he held a mutual respect or kinship.”


      This conclusion is counterfactual.




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      Mr. McAbee discarded an offensive weapon he was actually trained to use –

the police baton he picked up off the ground – before he entered the front of the

tunnel.

      He did not strike a single blow on Officer A.W. with the reinforced gloves he

was wearing even though Officer A.W. was helpless at his feet for several seconds,

and then lying underneath him for a period of more than 20 seconds after the slid

down the stairs together.

      The evidence – the audio from Officer A.W.’s body worn camera video –

proves the exact kinship that the Court spoke to as it captured Mr. McAbee telling

Officer A.W. in that moment that he was trying to help him -- “When you’re ready to

stand up, we’ll stand up together.”

      The audio also captures Mr. McAbee yelling “No!” when others in the crowd

were attempting to assault Officer A.W. while he was in that vulnerable position.

      The Government concedes and the Court acknowledged that no assault

against Officer A.W. was committed by Mr. McAbee while Officer A.W. was in that

supine position.

      The SINGLE volitional act taken by Mr. McAbee was his pushing Off. CM

away after Off. CM “cross-checked” him against the ribs with his baton when Mr.

McAbee attention was focused in a different direction. But even then, the video

shows that Mr. McAbee did not pursue Off. CM as he retreated – Mr. McAbee never

moved his feet.




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              3.     Nature and Seriousness of Risk Posed By Release

        The Court’s analysis of this factor is clearly erroneous because it places Mr.

McAbee in a “Catch 22” where there is always an available inference to draw

against him regardless of how the evidence is considered.

        Mr. McAbee has no criminal record. He was a sworn law enforcement officer.

Rather than accept that, the Court instead turns that virtue around, using that

status as a law enforcement officer against him in finding that made him more of a

risk:

        Mr. McAbee’s employment as a law enforcement officer worries the Court
        when considering whether he would abide by conditions of release to assure
        the safety of the community in view of his willingness to abdicate his
        responsibility to uphold the law in the past.

        If Mr. McAbee had past criminal activity and was accused of a crime, that

would signal a willingness to break the law and he’d be a danger to the community.

        Because Mr. McAbee was a police officer charged with upholding the law and

is accused of a crime, that signals a willingness to “abdicate his responsibility” and

break the law.

        To get to that conclusion the Court first must come to the conclusion that he

has committed the crimes for which he has been accused.

        Drawing the alternative conclusion – that Mr. McAbee acted in an effort to

aid other officers to the extent he was able at the moment and under the

circumstances – there would be no concerns about Mr. McAbee’s willingness to

uphold his responsibilities.




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      Thus, the only way the Court reached the concerns it expressed was to form a

conclusion that Mr. McAbee acted illegally on January 6. It improperly evaluated

the proffered evidence put forth by the Government and come to the conclusion

urged upon it by the Government in its motion as if they were established facts

proven beyond a reasonable doubt. In doing so the Court resolved all ambiguities

and inferences from the evidence against Mr. McAbee.

             As the government notes, “[t]he defendant’s occupation invested him
             with the responsibility to uphold and enforce the law. It also required
             an understanding of what constitutes a violation of that law. Yet,
             neither prevented the defendant from engaging in the assaultive,
             criminal conduct” addressed here.”

      That is a pronouncement of Mr. McAbee’s factual guilt by this Court.

             “Mr. McAbee’s decisions on January 6, 2021, “show that he is willing to
             allow his own personal beliefs to override the rule of law, which reflects
             poorly on his character.”

             “Worse, he was willing to allow those beliefs to override his sworn duty
             to uphold the rule of law as a law enforcement officer and even fight
             against officers with whom one would expect he held a mutual respect
             or kinship.”

      That is another pronouncement of Mr. McAbee’s factual guilt by this Court.

      The Court adopted this clearly erroneous conclusion in the face of

uncontroverted video evidence showing that:

      1) Mr. McAbee dropped a police baton BEFORE moving to the middle of the

tunnel entrance where Off. AW was on the ground;

      2) Mr. McAbee never struck Officer AW with his hands or any weapon while

Off. AW was in a vulnerable position at his feet.




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      3) Mr. McAbee never took a step backwards – his feet never moved – making

it physically impossible for him to have “dragged” Off. AM into the crowd of

protesters behind him – another clearly erroneous determination.

      4) Mr. McAbee’s interactions with Officer CM came only after Off. CM struck

him across the ribs with a police baton in a “cross-check” manner. But even then

Mr. McAbee’s conduct did not involve a punch – he pushed Off. CM away with open

hands.

      5) Mr. McAbee’s own feet were swept out from underneath him which caused

him to fall on top of Off. AW, leading both of them to slide down the stairs together.

      6) Mr. McAbee did not engage in any assaultive conduct against Off. AW

while they were laying on the ground together. He can be heard clearly yelling at

other protesters to not assault Off. AW.

      When the hyperbole of the Government’s proffer is stripped away, what Mr.

McAbee is faulted for the most was simply having gone to the rally on the National

Mall rather than stay at home in Tennessee and watch it on television.

   C. Plan for Release on Terms and Conditions of Pretrial Release
      The details of Mr. McAbee’s proposed conditions of supervised release will be

provided to Pretrial Services shortly after this motion is filed. Mr. McAbee intends

to live with his wife in Tennessee, and she will serve as his third-party custodian.

He has an employment offer from NEURO TOUR Physical Therapy, Inc, located in

Marietta, Georgia. The position is to be done remotely and will include being the

lead point of contact for all of clients, building and maintaining strong, long lasting

client relationships, overseeing client account management, maintaining the billing

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system, generating invoices and account statements, performing account

reconciliations, producing monthly financial and management reports. This work

can be performed from his residence and can be accomplished while under home

detention and GPS monitoring.




Dated: May 9, 2022                          Respectfully submitted,

                                            /s/ William L. Shipley
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                          CERTIFICATE OF SERVICE

      I, William L. Shipley, hereby certify that on this day, May 9, 2022, I caused a

copy of the foregoing document to be served on all counsel through the Court’s

CM/ECF case filing system.




                                              /s/ William L. Shipley
                                              William L. Shipley, Jr., Esq.




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